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                      EXHIBIT D
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SECTION 11 LOSS ANALYSIS
Class Period: 07/29/2021 to 12/17/2021

ROBINHOOD MARKETS INC - A
Ticker                                                      CUSIP             SEDOL   ISIN               Lookback Price
HOOD                                                        770700102         BP0TQN6 US7707001027       $19.10         *
Dr. Vinod Sodah
LIFO
Transaction Type                                            Trade Date        Shares   Price Per Share   Cost / Proceeds
Purchase                                                    7/29/2021         1,000    $35.28            -$35,280.00
Purchase                                                    7/29/2021         400      $36.43            -$14,572.00
Purchase                                                    7/29/2021         342      $36.44            -$12,462.48
Purchase                                                    7/29/2021         283      $36.45            -$10,315.35
Purchase                                                    7/29/2021         100      $35.96            -$3,596.00
Purchase                                                    7/29/2021         100      $35.97            -$3,597.00
Purchase                                                    7/29/2021         50       $34.60            -$1,729.91
Purchase                                                    7/29/2021         25       $36.06            -$901.50
Purchase                                                    7/30/2021         1,000    $33.61            -$33,610.00
Purchase                                                    7/30/2021         500      $34.24            -$17,117.75
Purchase                                                    7/30/2021         500      $33.70            -$16,849.75
Purchase                                                    7/30/2021         500      $33.61            -$16,805.00
Purchase                                                    7/30/2021         200      $34.48            -$6,895.00
Purchase                                                    7/30/2021         100      $34.11            -$3,411.40
Purchase                                                    8/2/2021          4,000    $35.90            -$143,600.00
Purchase                                                    8/2/2021          3,321    $35.81            -$118,925.01
Purchase                                                    8/2/2021          1,000    $36.02            -$36,019.90
Purchase                                                    8/2/2021          679      $35.82            -$24,321.78
Purchase                                                    8/2/2021          500      $36.10            -$18,051.80
Purchase                                                    8/2/2021          200      $37.19            -$7,437.96
Purchase                                                    8/2/2021          100      $36.38            -$3,638.37
Purchase                                                    8/3/2021          7,343    $38.00            -$279,034.00
Purchase                                                    8/3/2021          4,500    $38.00            -$171,000.00
Purchase                                                    8/3/2021          4,000    $38.00            -$152,000.00
Purchase                                                    8/3/2021          4,000    $38.00            -$152,000.00
Purchase                                                    8/3/2021          4,000    $38.00            -$152,000.00
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Purchase                              8/3/2021          3,900    $38.00       -$148,200.00
Purchase                              8/3/2021          2,000    $38.00       -$76,000.00
Purchase                              8/3/2021          1,970    $38.00       -$74,860.00
Purchase                              8/3/2021          1,500    $38.00       -$57,000.00
Purchase                              8/3/2021          1,500    $38.00       -$57,000.00
Purchase                              8/3/2021          1,046    $38.00       -$39,748.00
Purchase                              8/3/2021          1,023    $38.00       -$38,874.00
Purchase                              8/3/2021          1,000    $38.00       -$38,000.00
Purchase                              8/3/2021          1,000    $38.00       -$38,000.00
Purchase                              8/3/2021          798      $38.00       -$30,324.00
Purchase                              8/3/2021          600      $38.00       -$22,800.00
Purchase                              8/3/2021          520      $38.00       -$19,760.00
Purchase                              8/3/2021          520      $38.00       -$19,760.00
Purchase                              8/3/2021          500      $38.00       -$19,000.00
Purchase                              8/3/2021          500      $38.00       -$19,000.00
Purchase                              8/3/2021          487      $38.00       -$18,506.00
Purchase                              8/3/2021          400      $38.00       -$15,200.00
Purchase                              8/3/2021          200      $38.00       -$7,600.00
Purchase                              8/3/2021          200      $38.00       -$7,600.00
Purchase                              8/3/2021          113      $38.00       -$4,294.00
Purchase                              8/3/2021          100      $38.00       -$3,800.00
Purchase                              8/4/2021          500      $38.00       -$19,000.00
Purchase                              8/4/2021          30       $38.00       -$1,140.00
Purchase                              8/5/2021          1,000    $38.00       -$38,000.00
Purchase                              8/5/2021          1,000    $38.00       -$38,000.00
Purchase                              8/5/2021          370      $38.00       -$14,060.00
Purchase                              8/6/2021          1,800    $38.00       -$68,400.00
Purchase                              8/9/2021          1,132    $38.00       -$43,016.00
Purchase                              8/9/2021          150      $38.00       -$5,700.00
Purchase                              8/9/2021          100      $38.00       -$3,800.00
Purchase                              8/9/2021          100      $38.00       -$3,800.00
Purchase                              8/9/2021          18       $38.00       -$684.00
Purchase                              8/10/2021         1,800    $38.00       -$68,400.00
Purchase                              8/10/2021         900      $38.00       -$34,200.00
Purchase                              8/11/2021         1,000    $38.00       -$38,000.00
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Purchase                              8/11/2021         400      $38.00       -$15,200.00
Purchase                              8/13/2021         200      $38.00       -$7,600.00
Purchase                              8/30/2021         2,100    $38.00       -$79,800.00
Purchase                              9/7/2021          200      $38.00       -$7,600.00
Purchase                              9/7/2021          97       $38.00       -$3,686.00
Purchase                              9/7/2021          3        $38.00       -$114.00
Purchase                              9/8/2021          100      $38.00       -$3,800.00
Purchase                              9/8/2021          50       $38.00       -$1,900.00
Purchase                              9/15/2021         100      $38.00       -$3,800.00
Purchase                              9/15/2021         50       $38.00       -$1,900.00
Purchase                              9/15/2021         50       $38.00       -$1,900.00
Purchase                              9/16/2021         50       $38.00       -$1,900.00
Purchase                              9/21/2021         100      $38.00       -$3,800.00
Purchase                              9/21/2021         100      $38.00       -$3,800.00
Purchase                              9/21/2021         50       $38.00       -$1,900.00
Purchase                              9/21/2021         50       $38.00       -$1,900.00
Purchase                              9/21/2021         50       $38.00       -$1,900.00
Purchase                              9/21/2021         50       $38.00       -$1,900.00
Purchase                              9/21/2021         50       $38.00       -$1,900.00
Purchase                              9/22/2021         377      $38.00       -$14,326.00
Purchase                              9/22/2021         250      $38.00       -$9,500.00
Purchase                              9/22/2021         150      $38.00       -$5,700.00
Purchase                              9/22/2021         110      $38.00       -$4,180.00
Purchase                              9/22/2021         90       $38.00       -$3,420.00
Purchase                              9/22/2021         23       $38.00       -$874.00
Purchase                              9/23/2021         500      $38.00       -$19,000.00
Purchase                              9/23/2021         350      $38.00       -$13,300.00
Purchase                              9/23/2021         100      $38.00       -$3,800.00
Purchase                              9/23/2021         100      $38.00       -$3,800.00
Purchase                              9/23/2021         50       $38.00       -$1,900.00
Purchase                              10/8/2021         9,932    $38.00       -$377,416.00
Purchase                              10/8/2021         9,171    $38.00       -$348,498.00
Purchase                              10/8/2021         8,799    $38.00       -$334,362.00
Purchase                              10/8/2021         5,696    $38.00       -$216,448.00
Purchase                              10/8/2021         3,804    $38.00       -$144,552.00
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Purchase                              10/8/2021         1,000    $38.00       -$38,000.00
Purchase                              10/8/2021         829      $38.00       -$31,502.00
Purchase                              10/8/2021         752      $38.00       -$28,576.00
Purchase                              10/8/2021         250      $38.00       -$9,500.00
Purchase                              10/8/2021         237      $38.00       -$9,006.00
Purchase                              10/8/2021         200      $38.00       -$7,600.00
Purchase                              10/8/2021         200      $38.00       -$7,600.00
Purchase                              10/8/2021         68       $38.00       -$2,584.00
Purchase                              10/8/2021         50       $38.00       -$1,900.00
Purchase                              10/8/2021         6        $38.00       -$228.00
Purchase                              10/8/2021         6        $38.00       -$228.00
Purchase                              10/12/2021        4,550    $38.00       -$172,900.00
Purchase                              10/12/2021        4,543    $38.00       -$172,634.00
Purchase                              10/12/2021        300      $38.00       -$11,400.00
Purchase                              10/12/2021        100      $38.00       -$3,800.00
Purchase                              10/12/2021        50       $38.00       -$1,900.00
Purchase                              10/26/2021        7,000    $38.00       -$266,000.00
Purchase                              10/26/2021        3,000    $38.00       -$114,000.00
Purchase                              10/26/2021        1,000    $38.00       -$38,000.00
Purchase                              10/26/2021        1,000    $38.00       -$38,000.00
Purchase                              10/26/2021        884      $38.00       -$33,592.00
Purchase                              10/26/2021        116      $38.00       -$4,408.00
Purchase                              10/29/2021        9,500    $35.10       -$333,450.00
Purchase                              10/29/2021        5,000    $34.94       -$174,715.00
Purchase                              10/29/2021        2,000    $35.30       -$70,600.00
Purchase                              11/2/2021         3,000    $34.52       -$103,560.00
Purchase                              11/3/2021         3,838    $37.44       -$143,694.72
Purchase                              11/3/2021         587      $37.45       -$21,982.33
Purchase                              11/3/2021         500      $37.45       -$18,724.50
Purchase                              11/3/2021         75       $37.43       -$2,807.25
Purchase                              11/8/2021         10,672   $36.67       -$391,342.24
Purchase                              11/8/2021         6,075    $36.85       -$223,863.75
Purchase                              11/8/2021         5,000    $37.76       -$188,799.00
Purchase                              11/8/2021         2,625    $36.81       -$96,626.25
Purchase                              11/8/2021         1,500    $37.73       -$56,589.00
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Purchase                                             11/8/2021         702       $36.68      -$25,749.36
Purchase                                             11/8/2021         700       $36.80      -$25,760.00
Purchase                                             11/8/2021         500       $37.79      -$18,893.45
Purchase                                             11/8/2021         398       $36.69      -$14,602.62
Purchase                                             11/8/2021         300       $36.83      -$11,049.00
Purchase                                             11/8/2021         300       $36.59      -$10,977.00
Purchase                                             11/8/2021         228       $36.59      -$8,342.29
Purchase                                             11/8/2021         200       $36.77      -$7,354.00
Purchase                                             11/8/2021         200       $37.73      -$7,546.80
Purchase                                             11/8/2021         200       $37.74      -$7,547.98
Purchase                                             11/8/2021         100       $36.82      -$3,681.50
Purchase                                             11/8/2021         100       $36.64      -$3,664.00
Purchase                                             11/8/2021         100       $36.64      -$3,663.50
Purchase                                             11/8/2021         69        $37.73      -$2,603.37
Purchase                                             11/8/2021         31        $37.74      -$1,169.79
Purchase                                             11/9/2021         2,500     $36.65      -$91,625.00
Purchase                                             11/10/2021        300       $34.36      -$10,306.77
Purchase                                             11/10/2021        200       $34.40      -$6,880.32
Purchase                                             11/11/2021        100       $34.53      -$3,453.00
Purchase                                             11/12/2021        100       $34.84      -$3,483.50
Purchase                                             11/29/2021        500       $26.72      -$13,360.00
Purchase                                             11/29/2021        250       $26.73      -$6,681.25
Purchase                                             11/29/2021        100       $26.52      -$2,651.50
Purchase                                             11/29/2021        100       $26.74      -$2,673.77
Purchase                                             11/29/2021        50        $26.66      -$1,332.75
Purchase                                             12/1/2021         300       $25.22      -$7,564.50
Purchase                                             12/1/2021         200       $25.15      -$5,029.90
Purchase                                             12/1/2021         100       $25.09      -$2,508.60
Purchase                                             12/6/2021         1,327     $20.97      -$27,827.19
Class Period purchases:                                                198,640               -$7,372,168.71
Sale                                                 8/12/2021         200       $48.06      $9,611.00
Sale                                                 8/12/2021         200       $48.05      $9,610.00
Sale                                                 8/13/2021         500       $52.02      $26,010.05
Sale                                                 8/13/2021         300       $51.90      $15,571.47
Sale                                                 8/13/2021         200       $52.13      $10,426.00
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Sale                              8/13/2021         110      $53.16       $5,847.93
Sale                              8/13/2021         90       $53.11       $4,779.81
Sale                              8/31/2021         1,000    $43.43       $43,430.00
Sale                              8/31/2021         500      $43.58       $21,790.75
Sale                              8/31/2021         370      $43.47       $16,083.90
Sale                              8/31/2021         200      $43.18       $8,635.40
Sale                              8/31/2021         150      $43.29       $6,493.50
Sale                              8/31/2021         100      $44.21       $4,420.62
Sale                              8/31/2021         50       $43.31       $2,165.25
Sale                              8/31/2021         30       $43.13       $1,293.90
Sale                              9/1/2021          900      $45.30       $40,770.09
Sale                              9/1/2021          400      $45.95       $18,378.00
Sale                              9/21/2021         400      $42.40       $16,958.00
Sale                              9/22/2021         800      $44.14       $35,312.00
Sale                              9/22/2021         650      $44.69       $29,050.84
Sale                              9/22/2021         200      $44.13       $8,826.60
Sale                              9/23/2021         500      $45.18       $22,590.00
Sale                              9/23/2021         500      $45.34       $22,667.50
Sale                              9/23/2021         500      $45.71       $22,855.00
Sale                              9/23/2021         100      $46.73       $4,672.50
Sale                              9/27/2021         4,000    $45.05       $180,210.40
Sale                              9/29/2021         1,000    $45.11       $45,109.40
Sale                              10/11/2021        7,343    $42.20       $309,874.60
Sale                              10/11/2021        1,800    $42.10       $75,780.00
Sale                              10/11/2021        1,800    $42.10       $75,780.00
Sale                              10/11/2021        1,800    $42.10       $75,780.00
Sale                              10/11/2021        1,800    $42.10       $75,780.00
Sale                              10/11/2021        1,000    $41.41       $41,413.40
Sale                              10/13/2021        4,700    $40.17       $188,799.00
Sale                              10/19/2021        8,070    $40.81       $329,336.70
Sale                              10/19/2021        1,909    $40.82       $77,925.38
Sale                              10/19/2021        300      $41.00       $12,300.00
Sale                              10/19/2021        21       $40.83       $857.43
Sale                              10/27/2021        1,000    $35.00       $35,000.00
Sale                              10/27/2021        1,000    $35.60       $35,600.00
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Sale                                                            10/27/2021               1,000     $35.20             $35,200.00
Sale                                                            10/27/2021               1,000     $35.20             $35,200.00
Sale                                                            10/28/2021               19,000    $35.39             $672,410.00
Sale                                                            10/28/2021               1,500     $35.45             $53,175.00
Sale                                                            11/1/2021                5,000     $34.51             $172,555.00
Sale                                                            11/1/2021                1,000     $34.55             $34,550.00
Sale                                                            11/1/2021                1,000     $34.70             $34,700.00
Sale                                                            11/1/2021                1,000     $34.60             $34,600.00
Sale **                                                         11/5/2021                2,500     $36.00             $90,000.00
Sale **                                                         11/8/2021                27,500    $36.00             $990,000.00
Sale                                                            11/8/2021                7,500     $37.00             $277,500.00
Sale                                                            11/10/2021               500       $34.03             $17,015.95
Sale                                                            11/11/2021               100       $34.14             $3,413.70
Sale                                                            11/11/2021               100       $34.20             $3,420.00
Sale                                                            11/29/2021               1,000     $26.00             $26,000.00
Sale                                                            12/1/2021                1,000     $25.38             $25,380.00
Sale                                                            12/3/2021                11,851    $21.76             $257,877.76
Sale                                                            12/3/2021                7,162     $21.77             $155,916.74
Sale                                                            12/3/2021                957       $21.79             $20,853.03
Sale                                                            12/3/2021                780       $21.78             $16,988.40
Sale                                                            12/3/2021                117       $21.80             $2,550.60
Sale                                                            12/3/2021                50        $21.79             $1,089.25
Sale                                                            12/15/2021               1,010     $19.71             $19,908.21
Sale                                                            12/17/2021               4,000     $17.41             $69,658.40
Class Period sales (matched to Class Period purchases):                                  143,120                      $5,017,758.46
                                                                LIFO Retained Purchases: 55,520    $19.10             $1,060,432.00

* Value of retained shares is the closing price on 12/17/2021                                      LIFO Gain/(Loss): -$1,293,978.24
** Pursuant to the options contract
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LOSS ANALYSIS
Class Period: 07/29/2021 to 12/17/2021

ROBINHOOD MARKETS INC - A
Ticker                                                       CUSIP               SEDOL             ISIN
HOOD                                                         770700102           BP0TQN6           US7707001027
Dr. Vinod Sodah
OPTIONS
Transaction Description                                      Trade Date Shares   Price Per Share   Cost / Proceeds
Bought To Open 18 HOOD Aug 13 '21 $64 Call(HOOD) @ $7.54     8/5/2021    18      $7.54             (13,578.52)
Bought To Open 2 HOOD Aug 13 '21 $64 Call(HOOD) @ $7.54      8/5/2021    2       $7.54             (1,508.72)
Bought To Cover 10 HOOD Aug 13 '21 $65 Call(HOOD) @ $0.14    8/11/2021   10      $0.14             (143.62)
Bought To Cover 150 HOOD Aug 13 '21 $75 Call(HOOD) @ $0.10   8/11/2021   150     $0.10             (1,501.83)
Bought To Cover 2 HOOD Aug 13 '21 $65 Call(HOOD) @ $0.15     8/11/2021   2       $0.15             (30.72)
Bought To Cover 20 HOOD Aug 13 '21 $65 Call(HOOD) @ $0.15    8/11/2021   20      $0.15             (307.24)
Bought To Cover 27 HOOD Aug 13 '21 $59 Call(HOOD) @ $0.26    8/11/2021   27      $0.26             (711.78)
Bought To Cover 3 HOOD Aug 13 '21 $65 Call(HOOD) @ $0.15     8/11/2021   3       $0.15             (46.09)
Bought To Cover 3 HOOD Aug 13 '21 $65 Call(HOOD) @ $0.15     8/11/2021   3       $0.15             (46.09)
Bought To Cover 360 HOOD Aug 13 '21 $75 Call(HOOD) @ $0.10   8/11/2021   360     $0.10             (3,604.39)
Bought To Cover 95 HOOD Aug 13 '21 $75 Call(HOOD) @ $0.10    8/11/2021   95      $0.10             (951.16)
Bought To Open 3 HOOD Sep 03 '21 $55 Call(HOOD) @ $4.10      8/11/2021   3       $4.10             (1,231.09)
Bought To Open 5 HOOD Sep 03 '21 $55 Call(HOOD) @ $4.00      8/11/2021   5       $4.00             (2,001.81)
Bought To Open 5 HOOD Sep 03 '21 $55 Call(HOOD) @ $4.90      8/11/2021   5       $4.90             (2,451.81)
Bought To Open 50 HOOD Sep 03 '21 $55 Call(HOOD) @ $4.90     8/11/2021   50      $4.90             (24,518.11)
Bought To Open 20 HOOD Sep 03 '21 $48 Call(HOOD) @ $4.78     8/12/2021   20      $4.78             (9,567.24)
Bought To Open 20 HOOD Sep 03 '21 $48 Call(HOOD) @ $4.80     8/12/2021   20      $4.80             (9,607.24)
Bought To Cover 1 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.85     8/13/2021   1       $0.85             (85.36)
Bought To Cover 1 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.85     8/13/2021   1       $0.85             (85.36)
Bought To Cover 1 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80     8/13/2021   1       $0.80             (80.36)
Bought To Cover 1 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80     8/13/2021   1       $0.80             (80.36)
Bought To Cover 10 HOOD Aug 13 '21 $50 Call(HOOD) @ $1.15    8/13/2021   10      $1.15             (1,153.62)
Bought To Cover 12 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.90    8/13/2021   12      $0.90             (1,084.35)
Bought To Cover 12 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.05    8/13/2021   12      $0.05             (60.15)
Bought To Cover 132 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.85   8/13/2021   132     $0.85             (11,267.81)
Bought To Cover 138 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.10   8/13/2021   138     $0.10             (1,381.68)
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Bought To Cover   18 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.90   8/13/2021   18   $0.90   (1,626.52)
Bought To Cover   2 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.80    8/13/2021   2    $0.80   (160.72)
Bought To Cover   2 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.75    8/13/2021   2    $0.75   (150.72)
Bought To Cover   2 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.78    8/13/2021   2    $0.78   (156.72)
Bought To Cover   2 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.79    8/13/2021   2    $0.79   (158.72)
Bought To Cover   2 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.79    8/13/2021   2    $0.79   (158.72)
Bought To Cover   23 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.60   8/13/2021   23   $0.60   (1,388.33)
Bought To Cover   26 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.85   8/13/2021   26   $0.85   (2,219.42)
Bought To Cover   26 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.10   8/13/2021   26   $0.10   (260.32)
Bought To Cover   38 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.05   8/13/2021   38   $0.05   (190.46)
Bought To Cover   4 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80    8/13/2021   4    $0.80   (321.45)
Bought To Cover   41 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.10   8/13/2021   41   $0.10   (410.50)
Bought To Cover   5 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.80    8/13/2021   5    $0.80   (401.81)
Bought To Cover   5 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80    8/13/2021   5    $0.80   (401.81)
Bought To Cover   5 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80    8/13/2021   5    $0.80   (401.81)
Bought To Cover   50 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.70   8/13/2021   50   $0.70   (3,518.11)
Bought To Cover   50 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.74   8/13/2021   50   $0.74   (3,718.11)
Bought To Cover   50 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.04   8/13/2021   50   $0.04   (200.61)
Bought To Cover   50 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.04   8/13/2021   50   $0.04   (200.61)
Bought To Cover   6 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.80    8/13/2021   6    $0.80   (482.17)
Bought To Cover   8 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.89    8/13/2021   8    $0.89   (714.90)
Bought To Cover   95 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.05   8/13/2021   95   $0.05   (476.16)
Bought To Cover   97 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.60   8/13/2021   97   $0.60   (5,855.13)
Bought To Open    10 HOOD Sep 03 '21 $48 Call(HOOD) @ $7.08   8/13/2021   10   $7.08   (7,083.62)
Bought To Open    30 HOOD Sep 03 '21 $48 Call(HOOD) @ $7.09   8/13/2021   30   $7.09   (21,280.87)
Bought To Open    5 HOOD Aug 13 '21 $50 Call(HOOD) @ $1.50    8/13/2021   5    $1.50   (751.81)
Bought To Open    8 HOOD Sep 03 '21 $48 Call(HOOD) @ $3.70    8/16/2021   8    $3.70   (2,962.90)
Bought To Cover   1 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.35    8/18/2021   1    $0.35   (35.36)
Bought To Cover   10 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.39   8/18/2021   10   $0.39   (393.62)
Bought To Cover   3 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.40    8/18/2021   3    $0.40   (121.09)
Bought To Cover   68 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.40   8/18/2021   68   $0.40   (2,744.63)
Bought To Cover   9 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.35    8/18/2021   9    $0.35   (318.26)
Bought To Cover   9 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.40    8/18/2021   9    $0.40   (363.26)
Bought To Open    4 HOOD Sep 03 '21 $55 Call(HOOD) @ $2.54    8/18/2021   4    $2.54   (1,017.45)
Bought To Open    2 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.25    8/19/2021   2    $3.25   (650.72)
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Bought To Open    40 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.40    8/19/2021   40    $3.40   (13,614.49)
Bought To Open    8 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.25     8/19/2021   8     $3.25   (2,602.90)
Bought To Open    9 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.47     8/20/2021   9     $3.47   (3,126.26)
Bought To Open    2 HOOD Aug 27 '21 $40 Call(HOOD) @ $4.20     8/23/2021   2     $4.20   (840.72)
Bought To Open    2 HOOD Aug 27 '21 $40 Call(HOOD) @ $4.29     8/23/2021   2     $4.29   (858.72)
Bought To Open    8 HOOD Aug 27 '21 $40 Call(HOOD) @ $4.30     8/23/2021   8     $4.30   (3,442.90)
Bought To Open    10 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.76    8/24/2021   10    $3.76   (3,763.62)
Bought To Open    10 HOOD Sep 03 '21 $48 Call(HOOD) @ $2.81    8/24/2021   10    $2.81   (2,813.62)
Bought To Open    12 HOOD Sep 03 '21 $48 Call(HOOD) @ $2.64    8/24/2021   12    $2.64   (3,172.35)
Bought To Open    14 HOOD Sep 03 '21 $48 Call(HOOD) @ $3.60    8/24/2021   14    $3.60   (5,045.07)
Bought To Open    15 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.94    8/24/2021   15    $3.94   (5,915.43)
Bought To Open    15 HOOD Sep 03 '21 $48 Call(HOOD) @ $3.80    8/24/2021   15    $3.80   (5,705.43)
Bought To Open    2 HOOD Sep 03 '21 $45 Call(HOOD) @ $4.46     8/25/2021   2     $4.46   (892.72)
Bought To Open    22 HOOD Sep 03 '21 $45 Call(HOOD) @ $4.50    8/25/2021   22    $4.50   (9,907.97)
Bought To Open    3 HOOD Sep 03 '21 $45 Call(HOOD) @ $4.05     8/25/2021   3     $4.05   (1,216.09)
Bought To Open    103 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.50   8/27/2021   103   $3.50   (36,087.31)
Bought To Open    20 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.50    8/27/2021   20    $3.50   (7,007.24)
Bought To Open    25 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.10    8/27/2021   25    $3.10   (7,759.06)
Bought To Open    26 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.50    8/27/2021   26    $3.50   (9,109.42)
Bought To Open    3 HOOD Sep 03 '21 $45 Call(HOOD) @ $2.85     8/27/2021   3     $2.85   (856.09)
Bought To Open    4 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.00     8/27/2021   4     $3.00   (1,201.45)
Bought To Open    51 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.50    8/27/2021   51    $3.50   (17,868.47)
Bought To Open    60 HOOD Sep 03 '21 $45 Call(HOOD) @ $3.30    8/27/2021   60    $3.30   (19,821.73)
Bought To Open    15 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.35    8/30/2021   15    $1.35   (2,030.43)
Bought To Cover   50 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.59    8/31/2021   50    $0.59   (2,968.11)
Bought To Cover   1 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.80     9/1/2021    1     $0.80   (80.36)
Bought To Cover   1 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85     9/1/2021    1     $0.85   (85.36)
Bought To Cover   122 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.80   9/1/2021    122   $0.80   (9,804.19)
Bought To Cover   13 HOOD Sep 03 '21 $46 Call(HOOD) @ $1.00    9/1/2021    13    $1.00   (1,304.71)
Bought To Cover   19 HOOD Sep 03 '21 $46 Call(HOOD) @ $1.00    9/1/2021    19    $1.00   (1,906.88)
Bought To Cover   2 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85     9/1/2021    2     $0.85   (170.72)
Bought To Cover   2 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.97     9/1/2021    2     $0.97   (194.72)
Bought To Cover   200 HOOD Sep 03 '21 $46 Call(HOOD) @ $1.05   9/1/2021    200   $1.05   (21,072.44)
Bought To Cover   23 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85    9/1/2021    23    $0.85   (1,963.33)
Bought To Cover   25 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85    9/1/2021    25    $0.85   (2,134.06)
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Bought To Cover   5 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85     9/1/2021    5     $0.85   (426.81)
Bought To Cover   5 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.98     9/1/2021    5     $0.98   (491.81)
Bought To Cover   53 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85    9/1/2021    53    $0.85   (4,524.20)
Bought To Cover   68 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.85    9/1/2021    68    $0.85   (5,804.63)
Bought To Cover   70 HOOD Sep 03 '21 $46 Call(HOOD) @ $1.00    9/1/2021    70    $1.00   (7,025.35)
Bought To Cover   8 HOOD Sep 03 '21 $46 Call(HOOD) @ $1.00     9/1/2021    8     $1.00   (802.90)
Bought To Open    1 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.40     9/1/2021    1     $1.40   (140.36)
Bought To Open    19 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.45    9/1/2021    19    $1.45   (2,761.88)
Bought To Open    20 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.37    9/1/2021    20    $1.37   (2,747.24)
Bought To Open    36 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.07    9/1/2021    36    $1.07   (3,865.04)
Bought To Open    4 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.07     9/1/2021    4     $1.07   (429.45)
Bought To Open    4 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.43     9/1/2021    4     $1.43   (573.45)
Bought To Open    40 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.30    9/1/2021    40    $1.30   (5,214.49)
Bought To Open    40 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.45    9/1/2021    40    $1.45   (5,814.49)
Bought To Open    8 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.42     9/1/2021    8     $1.42   (1,138.90)
Bought To Open    8 HOOD Sep 03 '21 $45 Call(HOOD) @ $1.43     9/1/2021    8     $1.43   (1,146.90)
Bought To Open    10 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60    9/2/2021    10    $0.60   (603.61)
Bought To Open    100 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.92   9/2/2021    100   $0.92   (9,236.13)
Bought To Cover   200 HOOD Sep 24 '21 $43 Call(HOOD) @ $0.75   9/21/2021   200   $0.75   (15,072.26)
Bought To Cover   1 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80     9/22/2021   1     $0.80   (80.36)
Bought To Cover   10 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   10    $0.80   (803.61)
Bought To Cover   100 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.64   9/22/2021   100   $0.64   (6,436.13)
Bought To Cover   11 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   11    $0.80   (883.97)
Bought To Cover   12 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   12    $0.80   (964.34)
Bought To Cover   20 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   20    $0.80   (1,607.23)
Bought To Cover   28 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.85    9/22/2021   28    $0.85   (2,390.12)
Bought To Cover   31 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   31    $0.80   (2,491.20)
Bought To Cover   90 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   90    $0.80   (7,232.52)
Bought To Cover   97 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.80    9/22/2021   97    $0.80   (7,795.05)
Bought To Cover   1 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85     9/23/2021   1     $0.85   (85.36)
Bought To Cover   10 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.80    9/23/2021   10    $0.80   (803.61)
Bought To Cover   100 HOOD Sep 24 '21 $45 Call(HOOD) @ $1.64   9/23/2021   100   $1.64   (16,436.13)
Bought To Cover   100 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.87   9/23/2021   100   $0.87   (8,736.13)
Bought To Cover   108 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.80   9/23/2021   108   $0.80   (8,679.02)
Bought To Cover   12 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85    9/23/2021   12    $0.85   (1,024.34)
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Bought To Cover   14 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85       9/23/2021   14    $0.85   (1,195.06)
Bought To Cover   150 HOOD Sep 24 '21 $45 Call(HOOD) @ $1.20      9/23/2021   150   $1.20   (18,054.20)
Bought To Cover   2 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.80        9/23/2021   2     $0.80   (160.72)
Bought To Cover   29 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85       9/23/2021   29    $0.85   (2,475.48)
Bought To Cover   34 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85       9/23/2021   34    $0.85   (2,902.28)
Bought To Cover   36 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.85       9/23/2021   36    $0.85   (3,073.01)
Bought To Cover   4 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.80        9/23/2021   4     $0.80   (321.45)
Bought To Cover   50 HOOD Sep 24 '21 $45 Call(HOOD) @ $1.20       9/23/2021   50    $1.20   (6,018.07)
Bought To Cover   10 HOOD Oct 01 '21 $51 Call(HOOD) @ $0.10       9/29/2021   10    $0.10   (100.11)
Bought To Cover   90 HOOD Oct 01 '21 $51 Call(HOOD) @ $0.10       9/29/2021   90    $0.10   (901.02)
Bought To Cover   1 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   1     $0.05   (5.01)
Bought To Cover   100 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05   9/30/2021   100   $0.05   (501.13)
Bought To Cover   100 HOOD Oct 01 '21 $48 Call(HOOD) @ $0.05      9/30/2021   100   $0.05   (501.13)
Bought To Cover   14 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05    9/30/2021   14    $0.05   (70.16)
Bought To Cover   15 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05    9/30/2021   15    $0.05   (75.17)
Bought To Cover   2 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.04     9/30/2021   2     $0.04   (8.02)
Bought To Cover   2 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021   2     $0.05   (10.02)
Bought To Cover   2 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.04        9/30/2021   2     $0.04   (8.02)
Bought To Cover   2 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   2     $0.05   (10.02)
Bought To Cover   2 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   2     $0.05   (10.02)
Bought To Cover   20 HOOD Oct 01 '21 $46 Call(HOOD) @ $0.05       9/30/2021   20    $0.05   (100.23)
Bought To Cover   21 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05    9/30/2021   21    $0.05   (105.24)
Bought To Cover   29 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05    9/30/2021   29    $0.05   (145.33)
Bought To Cover   3 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021   3     $0.05   (15.03)
Bought To Cover   3 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021   3     $0.05   (15.03)
Bought To Cover   3 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   3     $0.05   (15.03)
Bought To Cover   30 HOOD Oct 01 '21 $46 Call(HOOD) @ $0.05       9/30/2021   30    $0.05   (150.34)
Bought To Cover   4 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021   4     $0.05   (20.05)
Bought To Cover   4 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021   4     $0.05   (20.05)
Bought To Cover   5 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   5     $0.05   (25.06)
Bought To Cover   5 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   5     $0.05   (25.06)
Bought To Cover   50 HOOD Oct 01 '21 $46 Call(HOOD) @ $0.04       9/30/2021   50    $0.04   (200.57)
Bought To Cover   6 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   6     $0.05   (30.07)
Bought To Cover   67 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05       9/30/2021   67    $0.05   (335.76)
Bought To Cover   7 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.05        9/30/2021   7     $0.05   (35.08)
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Bought To Cover   8 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05     9/30/2021    8     $0.05   (40.09)
Bought To Cover   95 HOOD Oct 01 '21 $46.50 Call(HOOD) @ $0.05    9/30/2021    95    $0.05   (476.07)
Bought To Cover   10 HOOD Oct 01 '21 $43 Call(HOOD) @ $0.24       10/1/2021    10    $0.24   (243.60)
Bought To Cover   100 HOOD Oct 01 '21 $43 Call(HOOD) @ $0.30      10/1/2021    100   $0.30   (3,036.04)
Bought To Cover   90 HOOD Oct 01 '21 $43 Call(HOOD) @ $0.24       10/1/2021    90    $0.24   (2,192.44)
Bought To Cover   119 HOOD Oct 15 '21 $42 Call(HOOD) @ $0.69      10/12/2021   119   $0.69   (8,253.89)
Bought To Cover   150 HOOD Oct 15 '21 $42.50 Call(HOOD) @ $0.55   10/12/2021   150   $0.55   (8,304.06)
Bought To Cover   20 HOOD Oct 15 '21 $42 Call(HOOD) @ $0.60       10/12/2021   20    $0.60   (1,207.21)
Bought To Cover   5 HOOD Oct 15 '21 $42 Call(HOOD) @ $0.70        10/12/2021   5     $0.70   (351.80)
Bought To Cover   50 HOOD Oct 15 '21 $42 Call(HOOD) @ $0.70       10/12/2021   50    $0.70   (3,518.02)
Bought To Cover   50 HOOD Oct 15 '21 $42.50 Call(HOOD) @ $0.55    10/12/2021   50    $0.55   (2,768.02)
Bought To Cover   6 HOOD Oct 15 '21 $42 Call(HOOD) @ $0.70        10/12/2021   6     $0.70   (422.16)
Bought To Cover   190 HOOD Oct 29 '21 $35 Call(HOOD) @ $0.58      10/28/2021   190   $0.58   (11,088.48)
Bought To Cover   3 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    3     $0.33   (100.08)
Bought To Cover   4 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    4     $0.33   (133.44)
Bought To Cover   4 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    4     $0.33   (133.44)
Bought To Cover   4 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    4     $0.33   (133.44)
Bought To Cover   5 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    5     $0.33   (166.80)
Bought To Cover   5 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.33        11/8/2021    5     $0.33   (166.80)
Bought To Cover   100 HOOD Nov 12 '21 $40 Call(HOOD) @ $0.13      11/9/2021    100   $0.13   (1,335.94)
Bought To Cover   75 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.20       11/9/2021    75    $0.20   (1,526.96)
Bought To Open    1 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.80        11/11/2021   1     $0.80   (80.36)
Bought To Open    4 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.80        11/11/2021   4     $0.80   (321.44)
Bought To Open    45 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.80       11/11/2021   45    $0.80   (3,616.17)
Bought To Cover   15 HOOD Nov 12 '21 $36 Call(HOOD) @ $0.15       11/12/2021   15    $0.15   (230.39)
Bought To Cover   1 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02        11/18/2021   1     $0.02   (2.01)
Bought To Cover   1 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02        11/18/2021   1     $0.02   (2.01)
Bought To Cover   126 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.03      11/18/2021   126   $0.03   (379.18)
Bought To Cover   129 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.03      11/18/2021   129   $0.03   (388.21)
Bought To Cover   147 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02      11/18/2021   147   $0.02   (295.38)
Bought To Cover   155 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.03      11/18/2021   155   $0.03   (466.46)
Bought To Cover   2 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02        11/18/2021   2     $0.02   (4.02)
Bought To Cover   2 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02        11/18/2021   2     $0.02   (4.02)
Bought To Cover   2 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02        11/18/2021   2     $0.02   (4.02)
Bought To Cover   29 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02       11/18/2021   29    $0.02   (58.27)
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Bought To Cover   35 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.03      11/18/2021   35    $0.03   (105.33)
Bought To Cover   36 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02      11/18/2021   36    $0.02   (72.34)
Bought To Cover   54 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.02      11/18/2021   54    $0.02   (108.51)
Bought To Cover   81 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.02      11/18/2021   81    $0.02   (162.76)
Bought To Cover   11 HOOD Nov 26 '21 $31.50 Call(HOOD) @ $0.05   11/24/2021   11    $0.05   (55.10)
Bought To Cover   13 HOOD Nov 26 '21 $31.50 Call(HOOD) @ $0.05   11/24/2021   13    $0.05   (65.12)
Bought To Cover   4 HOOD Nov 26 '21 $31.50 Call(HOOD) @ $0.05    11/24/2021   4     $0.05   (20.04)
Bought To Cover   4 HOOD Nov 26 '21 $31.50 Call(HOOD) @ $0.05    11/24/2021   4     $0.05   (20.04)
Bought To Cover   5 HOOD Nov 26 '21 $31.50 Call(HOOD) @ $0.05    11/24/2021   5     $0.05   (25.05)
Bought To Cover   210 HOOD Dec 03 '21 $29 Call(HOOD) @ $0.01     12/3/2021    210   $0.01   (211.97)
Bought To Cover   1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.48       12/6/2021    1     $0.48   (48.36)
Bought To Cover   1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    1     $0.50   (50.36)
Bought To Cover   1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    1     $0.50   (50.36)
Bought To Cover   1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    1     $0.50   (50.36)
Bought To Cover   1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    1     $0.50   (50.36)
Bought To Cover   11 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50      12/6/2021    11    $0.50   (553.95)
Bought To Cover   11 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50      12/6/2021    11    $0.50   (553.95)
Bought To Cover   11 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50      12/6/2021    11    $0.50   (553.95)
Bought To Cover   156 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50     12/6/2021    156   $0.50   (7,856.07)
Bought To Cover   189 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50     12/6/2021    189   $0.50   (9,517.93)
Bought To Cover   2 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.48       12/6/2021    2     $0.48   (96.72)
Bought To Cover   2 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    2     $0.50   (100.72)
Bought To Cover   2 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    2     $0.50   (100.72)
Bought To Cover   2 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    2     $0.50   (100.72)
Bought To Cover   20 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.49      12/6/2021    20    $0.49   (987.19)
Bought To Cover   32 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.49      12/6/2021    32    $0.49   (1,579.50)
Bought To Cover   41 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50      12/6/2021    41    $0.50   (2,064.74)
Bought To Cover   7 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.50       12/6/2021    7     $0.50   (352.52)
Bought To Cover   9 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.49       12/6/2021    9     $0.49   (444.23)
Bought To Cover   100 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.45     12/7/2021    100   $0.45   (4,535.94)
Bought To Cover   50 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.40      12/7/2021    50    $0.40   (2,017.97)
Bought To Cover   1 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58       12/15/2021   1     $0.58   (58.36)
Bought To Cover   10 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58      12/15/2021   10    $0.58   (583.59)
Bought To Cover   100 HOOD Dec 17 '21 $19 Call(HOOD) @ $1.03     12/15/2021   100   $1.03   (10,335.94)
Bought To Cover   11 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57      12/15/2021   11    $0.57   (630.95)
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Bought To Cover 13 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58    12/15/2021   13      $0.58   (758.67)
Bought To Cover 16 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58    12/15/2021   16      $0.58   (933.75)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.53     12/15/2021   2       $0.53   (106.72)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57     12/15/2021   2       $0.57   (114.72)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57     12/15/2021   2       $0.57   (114.72)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57     12/15/2021   2       $0.57   (114.72)
Bought To Cover 21 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58    12/15/2021   21      $0.58   (1,225.55)
Bought To Cover 24 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57    12/15/2021   24      $0.57   (1,376.63)
Bought To Cover 5 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57     12/15/2021   5       $0.57   (286.80)
Bought To Cover 50 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.57    12/15/2021   50      $0.57   (2,867.97)
Bought To Cover 68 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58    12/15/2021   68      $0.58   (3,968.44)
Bought To Cover 75 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.58    12/15/2021   75      $0.58   (4,376.96)
Bought To Cover 8 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.52     12/15/2021   8       $0.52   (418.88)
Bought To Cover 8 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.53     12/15/2021   8       $0.53   (426.88)
Bought To Cover 82 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.53    12/15/2021   82      $0.53   (4,375.47)
Bought To Cover 100 HOOD Dec 17 '21 $19 Call(HOOD) @ $0.20   12/17/2021   100     $0.20   (2,035.94)
Class Period Purchases                                                    8,605           ($645,710.61)
Sold Short 7 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.80          8/5/2021     -7      $2.80   $1,957.44
Sold Short 4 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.90          8/5/2021     -4      $2.90   $1,158.53
Sold Short 4 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.90          8/5/2021     -4      $2.90   $1,158.53
Sold Short 3 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.90          8/5/2021     -3      $2.90   $868.89
Sold Short 1 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.81          8/5/2021     -1      $2.81   $280.63
Sold Short 7 HOOD Aug 13 '21 $75 Call(HOOD) @ $2.80          8/5/2021     -1      $2.80   $279.63
Sold Short 183 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.35        8/11/2021    -183    $0.35   $6,338.31
Sold Short 113 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.40        8/11/2021    -113    $0.40   $4,478.81
Sold Short 100 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.40        8/11/2021    -100    $0.40   $3,963.55
Sold Short 50 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.40         8/11/2021    -50     $0.40   $1,981.77
Sold Short 49 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -49     $0.50   $2,432.13
Sold Short 31 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -31     $0.50   $1,538.70
Sold Short 27 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.53         8/11/2021    -27     $0.53   $1,421.16
Sold Short 17 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -17     $0.50   $843.80
Sold Short 13 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.55         8/11/2021    -13     $0.55   $710.25
Sold Short 11 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -11     $0.50   $545.99
Sold Short 11 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -11     $0.50   $545.99
Sold Short 11 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50         8/11/2021    -11     $0.50   $545.99
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Sold Short 10 HOOD Aug 13 '21 $50 Call(HOOD) @ $1.65      8/11/2021   -10    $1.65    $1,646.35
Sold Short 10 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50      8/11/2021   -10    $0.50    $496.35
Sold Short 10 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.51      8/11/2021   -10    $0.51    $506.35
Sold Short 8 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50       8/11/2021   -8     $0.50    $397.07
Sold Short 7 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50       8/11/2021   -7     $0.50    $347.44
Sold Short 5 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50       8/11/2021   -5     $0.50    $248.17
Sold Short 4 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.55       8/11/2021   -4     $0.55    $218.53
Sold Short 3 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.55       8/11/2021   -3     $0.55    $163.89
Sold Short 3 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.40       8/11/2021   -3     $0.40    $118.89
Sold Short 1 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.50       8/11/2021   -1     $0.50    $49.63
Sold Short 1 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.55       8/11/2021   -1     $0.55    $54.63
Sold Short 1 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.55       8/11/2021   -1     $0.55    $54.63
Sold Short 1 HOOD Aug 13 '21 $56 Call(HOOD) @ $0.40       8/11/2021   -1     $0.40    $39.63
Sold Short 200 HOOD Aug 13 '21 $53 Call(HOOD) @ $0.15     8/13/2021   -200   $0.15    $2,927.14
Sold Short 200 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15     8/13/2021   -200   $0.15    $2,927.14
Sold Short 102 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15     8/13/2021   -102   $0.15    $1,492.85
Sold Short 100 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.15     8/13/2021   -100   $0.15    $1,463.57
Sold Short 95 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.20      8/13/2021   -95    $0.20    $1,865.39
Sold Short 51 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15      8/13/2021   -51    $0.15    $746.42
Sold Short 50 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.16      8/13/2021   -50    $0.16    $781.78
Sold Short 50 HOOD Aug 13 '21 $54 Call(HOOD) @ $0.30      8/13/2021   -50    $0.30    $1,481.78
Sold Short 20 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15      8/13/2021   -20    $0.15    $292.71
Sold Short 10 HOOD Aug 13 '21 $52 Call(HOOD) @ $0.25      8/13/2021   -10    $0.25    $246.35
Sold Short 10 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15      8/13/2021   -10    $0.15    $146.35
Sold Short 10 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15      8/13/2021   -10    $0.15    $146.35
Sold Short 7 HOOD Aug 13 '21 $55 Call(HOOD) @ $0.15       8/13/2021   -7     $0.15    $102.44
Sold To Close 5 HOOD Aug 13 '21 $50 Call(HOOD) @ $0.40    8/13/2021   -5     $0.40    $198.17
Sold Short 100 HOOD Aug 20 '21 $60 Call(HOOD) @ $0.32     8/16/2021   -100   $0.32    $3,163.56
Sold To Close 8 HOOD Sep 03 '21 $48 Call(HOOD) @ $4.60    8/18/2021   -8     $4.60    $3,677.06
Sold To Close 1 HOOD Sep 03 '21 $48 Call(HOOD) @ $4.50    8/18/2021   -1     $4.50    $449.63
Sold To Close 1 HOOD Sep 03 '21 $48 Call(HOOD) @ $4.70    8/18/2021   -1     $4.70    $469.63
Sold Short 54 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.20      8/19/2021   -54    $0.20    $1,060.32
Sold To Close 33 HOOD Sep 03 '21 $55 Call(HOOD) @ $0.95   8/19/2021   -33    $0.95    $3,122.96
Sold Short 25 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.26      8/19/2021   -25    $0.26    $640.88
Sold To Close 24 HOOD Sep 03 '21 $55 Call(HOOD) @ $0.95   8/19/2021   -24    $0.95    $2,271.24
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Sold Short 15 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.20      8/19/2021   -15   $0.20     $294.53
Sold Short 10 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.24      8/19/2021   -10   $0.24     $236.35
Sold To Close 10 HOOD Sep 03 '21 $55 Call(HOOD) @ $0.95   8/19/2021   -10   $0.95     $946.35
Sold Short 7 HOOD Aug 20 '21 $50 Call(HOOD) @ $0.15       8/19/2021   -7    $0.15     $102.44
Sold Short 7 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.22       8/19/2021   -7    $0.22     $151.44
Sold Short 3 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.25       8/19/2021   -3    $0.25     $73.89
Sold Short 63 HOOD Aug 20 '21 $50 Call(HOOD) @ $0.15      8/19/2021   -3    $0.15     $43.91
Sold Short 2 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.25       8/19/2021   -2    $0.25     $49.27
Sold Short 1 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.25       8/19/2021   -1    $0.25     $24.63
Sold Short 1 HOOD Aug 20 '21 $51 Call(HOOD) @ $0.25       8/19/2021   -1    $0.25     $24.63
Sold Short 90 HOOD Aug 27 '21 $51 Call(HOOD) @ $0.27      8/23/2021   -11   $0.27     $292.99
Sold Short 10 HOOD Aug 27 '21 $51 Call(HOOD) @ $0.27      8/23/2021   -10   $0.27     $266.35
Sold Short 50 HOOD Aug 27 '21 $52 Call(HOOD) @ $0.45      8/24/2021   -50   $0.45     $2,231.77
Sold Short 50 HOOD Aug 27 '21 $52 Call(HOOD) @ $0.55      8/24/2021   -14   $0.55     $764.90
Sold To Close 7 HOOD Aug 27 '21 $40 Call(HOOD) @ $9.10    8/24/2021   -7    $9.10     $6,367.41
Sold To Close 5 HOOD Aug 27 '21 $40 Call(HOOD) @ $9.10    8/24/2021   -5    $9.10     $4,548.15
Sold Short 18 HOOD Aug 27 '21 $52 Call(HOOD) @ $0.55      8/25/2021   -18   $0.55     $983.43
Sold Short 2 HOOD Aug 27 '21 $52 Call(HOOD) @ $0.55       8/25/2021   -2    $0.55     $109.27
Sold To Close 33 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -33   $0.65     $2,132.96
Sold To Close 32 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -32   $0.65     $2,068.33
Sold To Close 32 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -32   $0.65     $2,068.33
Sold To Close 40 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60   8/31/2021   -31   $0.60     $1,848.69
Sold To Close 24 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -24   $0.65     $1,551.25
Sold Short 23 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.56      8/31/2021   -23   $0.56     $1,279.61
Sold To Close 23 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.66   8/31/2021   -23   $0.66     $1,509.61
Sold To Close 19 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -19   $0.65     $1,228.07
Sold Short 17 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.60      8/31/2021   -17   $0.60     $1,013.80
Sold To Close 14 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -14   $0.65     $904.89
Sold To Close 12 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -12   $0.65     $775.62
Sold To Close 12 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -12   $0.65     $775.62
Sold To Close 12 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -12   $0.65     $775.62
Sold To Close 11 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65   8/31/2021   -11   $0.65     $710.99
Sold Short 10 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.65      8/31/2021   -10   $0.65     $646.35
Sold To Close 10 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.61   8/31/2021   -10   $0.61     $606.35
Sold To Close 9 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60    8/31/2021   -9    $0.60     $536.71
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Sold Short 7 HOOD Sep 03 '21 $46 Call(HOOD) @ $0.55        8/31/2021   -7     $0.55   $382.44
Sold To Close 7 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60     8/31/2021   -7     $0.60   $417.44
Sold To Close 6 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60     8/31/2021   -6     $0.60   $357.81
Sold To Close 6 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65     8/31/2021   -6     $0.65   $387.81
Sold To Close 4 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65     8/31/2021   -4     $0.65   $258.53
Sold To Close 3 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60     8/31/2021   -3     $0.60   $178.89
Sold To Close 3 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.70     8/31/2021   -3     $0.70   $208.89
Sold To Close 1 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60     8/31/2021   -1     $0.60   $59.63
Sold To Close 1 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.60     8/31/2021   -1     $0.60   $59.63
Sold To Close 1 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.65     8/31/2021   -1     $0.65   $64.63
Sold To Close 1 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.70     8/31/2021   -1     $0.70   $69.63
Sold Short 175 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.41      9/1/2021    -175   $0.41   $7,111.22
Sold Short 120 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.35      9/1/2021    -120   $0.35   $4,156.27
Sold Short 80 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.35       9/1/2021    -80    $0.35   $2,770.84
Sold Short 20 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.40       9/1/2021    -20    $0.40   $792.71
Sold Short 4 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.40        9/1/2021    -4     $0.40   $158.53
Sold Short 1 HOOD Sep 03 '21 $48 Call(HOOD) @ $0.40        9/1/2021    -1     $0.40   $39.63
Sold To Close 170 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10   9/3/2021    -170   $0.10   $1,638.23
Sold Short 105 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10      9/3/2021    -105   $0.10   $1,011.84
Sold Short 74 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10       9/3/2021    -74    $0.10   $713.10
Sold To Close 57 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10    9/3/2021    -57    $0.10   $549.29
Sold To Close 40 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10    9/3/2021    -40    $0.10   $385.46
Sold Short 21 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10       9/3/2021    -21    $0.10   $202.36
Sold To Close 12 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10    9/3/2021    -12    $0.10   $115.63
Sold To Close 11 HOOD Sep 03 '21 $45 Call(HOOD) @ $0.10    9/3/2021    -11    $0.10   $106.00
Sold Short 100 HOOD Sep 10 '21 $45 Call(HOOD) @ $0.31      9/7/2021    -17    $0.31   $520.82
Sold Short 63 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.20       9/21/2021   -63    $0.20   $1,237.10
Sold Short 50 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.25       9/21/2021   -50    $0.25   $1,231.82
Sold Short 50 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.25       9/21/2021   -50    $0.25   $1,231.82
Sold Short 33 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.20       9/21/2021   -33    $0.20   $648.00
Sold Short 4 HOOD Sep 24 '21 $44 Call(HOOD) @ $0.20        9/21/2021   -4     $0.20   $78.53
Sold Short 100 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.40      9/22/2021   -100   $0.40   $3,963.64
Sold Short 67 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -67    $0.50   $3,325.64
Sold Short 100 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50      9/22/2021   -50    $0.50   $2,481.82
Sold Short 32 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.55       9/22/2021   -32    $0.55   $1,748.37
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Sold Short 30 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.30      9/22/2021   -30    $0.30    $889.09
Sold Short 30 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.55      9/22/2021   -30    $0.55    $1,639.09
Sold Short 28 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.55      9/22/2021   -28    $0.55    $1,529.81
Sold Short 20 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50      9/22/2021   -20    $0.50    $992.72
Sold Short 20 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.30      9/22/2021   -20    $0.30    $592.72
Sold Short 5 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -5     $0.50    $248.17
Sold Short 5 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.55       9/22/2021   -5     $0.55    $273.17
Sold Short 5 HOOD Sep 24 '21 $46 Call(HOOD) @ $0.55       9/22/2021   -5     $0.55    $273.17
Sold Short 4 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -4     $0.50    $198.53
Sold Short 1 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -1     $0.50    $49.63
Sold Short 1 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -1     $0.50    $49.63
Sold Short 1 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -1     $0.50    $49.63
Sold Short 1 HOOD Sep 24 '21 $45 Call(HOOD) @ $0.50       9/22/2021   -1     $0.50    $49.63
Sold Short 100 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.36     9/23/2021   -100   $0.36    $3,563.65
Sold Short 100 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.41     9/23/2021   -100   $0.41    $4,063.64
Sold Short 100 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.41     9/23/2021   -100   $0.41    $4,063.64
Sold Short 100 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.42     9/23/2021   -100   $0.42    $4,163.64
Sold Short 99 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.30      9/23/2021   -99    $0.30    $2,934.01
Sold Short 90 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.35      9/23/2021   -90    $0.35    $3,117.28
Sold Short 50 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.40      9/23/2021   -50    $0.40    $1,981.81
Sold Short 10 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.36      9/23/2021   -10    $0.36    $356.36
Sold Short 1 HOOD Sep 24 '21 $48 Call(HOOD) @ $0.35       9/23/2021   -1     $0.35    $34.63
Sold Short 90 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.33      9/29/2021   -90    $0.33    $2,937.28
Sold Short 10 HOOD Oct 01 '21 $47 Call(HOOD) @ $0.33      9/29/2021   -10    $0.33    $326.36
Sold Short 100 HOOD Oct 01 '21 $43 Call(HOOD) @ $0.22     9/30/2021   -100   $0.22    $2,163.65
Sold Short 100 HOOD Oct 01 '21 $43 Call(HOOD) @ $0.24     9/30/2021   -100   $0.24    $2,363.65
Sold Short 100 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.10     9/30/2021   -100   $0.10    $963.66
Sold Short 100 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.12     9/30/2021   -100   $0.12    $1,163.66
Sold Short 89 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05      9/30/2021   -89    $0.05    $412.65
Sold Short 46 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05      9/30/2021   -46    $0.05    $213.28
Sold Short 25 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05      9/30/2021   -25    $0.05    $115.91
Sold Short 13 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05      9/30/2021   -13    $0.05    $60.26
Sold Short 10 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.10      9/30/2021   -10    $0.10    $96.36
Sold Short 5 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05       9/30/2021   -5     $0.05    $23.17
Sold Short 5 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.06       9/30/2021   -5     $0.06    $28.17
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Sold Short 4 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.10        9/30/2021    -4     $0.10   $38.53
Sold Short 2 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.10        9/30/2021    -2     $0.10   $19.27
Sold Short 1 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.05        9/30/2021    -1     $0.05   $4.63
Sold Short 100 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.10      10/1/2021    -100   $0.10   $963.75
Sold Short 90 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.13       10/1/2021    -90    $0.13   $1,137.37
Sold Short 10 HOOD Oct 01 '21 $44 Call(HOOD) @ $0.13       10/1/2021    -10    $0.13   $126.37
Sold Short 100 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.25      10/12/2021   -100   $0.25   $2,463.74
Sold Short 100 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.23   10/12/2021   -100   $0.23   $2,263.74
Sold Short 79 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.21    10/12/2021   -79    $0.21   $1,630.36
Sold Short 44 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.26       10/12/2021   -44    $0.26   $1,128.04
Sold Short 13 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.26       10/12/2021   -13    $0.26   $333.27
Sold Short 13 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27       10/12/2021   -13    $0.27   $346.27
Sold Short 10 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.26       10/12/2021   -10    $0.26   $256.37
Sold Short 10 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.21    10/12/2021   -10    $0.21   $206.37
Sold Short 6 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.21     10/12/2021   -6     $0.21   $123.82
Sold Short 4 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -4     $0.27   $106.54
Sold Short 3 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.26        10/12/2021   -3     $0.26   $76.90
Sold Short 3 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -3     $0.27   $79.90
Sold Short 3 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -3     $0.27   $79.90
Sold Short 3 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -3     $0.27   $79.90
Sold Short 3 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.21     10/12/2021   -3     $0.21   $61.90
Sold Short 2 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.26        10/12/2021   -2     $0.26   $51.27
Sold Short 2 HOOD Oct 15 '21 $43.50 Call(HOOD) @ $0.21     10/12/2021   -2     $0.21   $41.27
Sold Short 1 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -1     $0.27   $26.63
Sold Short 1 HOOD Oct 15 '21 $43 Call(HOOD) @ $0.27        10/12/2021   -1     $0.27   $26.63
Sold Short 39 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.13       10/28/2021   -39    $0.13   $492.85
Sold Short 29 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.16       10/28/2021   -29    $0.16   $453.48
Sold Short 28 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14       10/28/2021   -28    $0.14   $381.84
Sold Short 24 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14       10/28/2021   -24    $0.14   $327.29
Sold Short 16 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14       10/28/2021   -16    $0.14   $218.19
Sold Short 13 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.16       10/28/2021   -13    $0.16   $203.27
Sold Short 11 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14       10/28/2021   -11    $0.14   $150.01
Sold Short 9 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14        10/28/2021   -9     $0.14   $122.73
Sold Short 7 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.14        10/28/2021   -7     $0.14   $95.46
Sold Short 6 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.16        10/28/2021   -6     $0.16   $93.82
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Sold Short 2 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.15       10/28/2021   -2    $0.15    $29.27
Sold Short 2 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.15       10/28/2021   -2    $0.15    $29.27
Sold Short 1 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.13       10/28/2021   -1    $0.13    $12.63
Sold Short 1 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.15       10/28/2021   -1    $0.15    $14.63
Sold Short 1 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.16       10/28/2021   -1    $0.16    $15.63
Sold Short 1 HOOD Oct 29 '21 $36 Call(HOOD) @ $0.16       10/28/2021   -1    $0.16    $15.63
Sold Short 100 HOOD Nov 12 '21 $39 Call(HOOD) @ $0.25     11/8/2021    -25   $0.25    $615.96
Sold Short 19 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10   11/10/2021   -19   $0.10    $183.12
Sold Short 18 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10   11/10/2021   -18   $0.10    $173.48
Sold Short 18 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10   11/10/2021   -18   $0.10    $173.48
Sold Short 23 HOOD Nov 12 '21 $37 Call(HOOD) @ $0.13      11/10/2021   -17   $0.13    $214.84
Sold Short 16 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10   11/10/2021   -16   $0.10    $154.21
Sold Short 16 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10   11/10/2021   -16   $0.10    $154.21
Sold Short 15 HOOD Nov 12 '21 $37 Call(HOOD) @ $0.13      11/10/2021   -15   $0.13    $189.57
Sold Short 10 HOOD Nov 12 '21 $37 Call(HOOD) @ $0.13      11/10/2021   -10   $0.13    $126.38
Sold Short 8 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.11    11/10/2021   -8    $0.11    $85.09
Sold Short 6 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -6    $0.10    $57.82
Sold Short 6 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -6    $0.10    $57.82
Sold Short 6 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -6    $0.10    $57.82
Sold Short 5 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -5    $0.10    $48.18
Sold Short 5 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -5    $0.10    $48.18
Sold Short 3 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -3    $0.10    $28.90
Sold Short 2 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -2    $0.10    $19.27
Sold Short 2 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -2    $0.10    $19.27
Sold Short 1 HOOD Nov 12 '21 $37 Call(HOOD) @ $0.14       11/10/2021   -1    $0.14    $13.63
Sold Short 1 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -1    $0.10    $9.63
Sold Short 1 HOOD Nov 12 '21 $38.50 Call(HOOD) @ $0.10    11/10/2021   -1    $0.10    $9.63
Sold To Close 36 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.43   11/11/2021   -21   $0.43    $895.41
Sold Short 15 HOOD Nov 12 '21 $36 Call(HOOD) @ $0.12      11/11/2021   -15   $0.12    $174.57
Sold To Close 11 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.43   11/11/2021   -11   $0.43    $469.02
Sold To Close 3 HOOD Nov 12 '21 $34 Call(HOOD) @ $0.43    11/11/2021   -3    $0.43    $127.90
Sold Short 3 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.26       11/16/2021   -3    $0.26    $76.90
Sold Short 3 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.15       11/16/2021   -3    $0.15    $43.90
Sold Short 2 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.15       11/16/2021   -2    $0.15    $29.27
Sold Short 1 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.22       11/16/2021   -1    $0.22    $21.63
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Sold Short 1 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.26        11/16/2021   -1     $0.26   $25.63
Sold Short 1 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.26        11/16/2021   -1     $0.26   $25.63
Sold Short 1 HOOD Nov 19 '21 $35 Call(HOOD) @ $0.26        11/16/2021   -1     $0.26   $25.63
Sold Short 1 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.15        11/16/2021   -1     $0.15   $14.63
Sold Short 1 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.16        11/16/2021   -1     $0.16   $15.63
Sold Short 5 HOOD Nov 19 '21 $36 Call(HOOD) @ $0.17        11/16/2021   -1     $0.17   $16.64
Sold Short 177 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.16   11/18/2021   -177   $0.16   $2,768.02
Sold Short 104 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17   11/18/2021   -104   $0.17   $1,730.40
Sold Short 89 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -89    $0.08   $679.82
Sold Short 80 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -80    $0.08   $611.08
Sold Short 62 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.15    11/18/2021   -62    $0.15   $907.59
Sold Short 42 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -42    $0.08   $320.82
Sold Short 38 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -38    $0.08   $290.25
Sold Short 32 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -32    $0.08   $244.43
Sold Short 31 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -31    $0.08   $236.79
Sold Short 26 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17    11/18/2021   -26    $0.17   $432.60
Sold Short 26 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -26    $0.08   $198.60
Sold Short 20 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -20    $0.08   $152.76
Sold Short 14 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17    11/18/2021   -14    $0.17   $232.93
Sold Short 13 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -13    $0.08   $99.29
Sold Short 12 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -12    $0.08   $91.66
Sold Short 10 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08       11/18/2021   -10    $0.08   $76.38
Sold Short 9 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17     11/18/2021   -9     $0.17   $149.74
Sold Short 5 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17     11/18/2021   -5     $0.17   $83.18
Sold Short 5 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08        11/18/2021   -5     $0.08   $38.18
Sold Short 2 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17     11/18/2021   -2     $0.17   $33.27
Sold Short 2 HOOD Nov 19 '21 $32 Call(HOOD) @ $0.08        11/18/2021   -2     $0.08   $15.27
Sold Short 1 HOOD Nov 19 '21 $31.50 Call(HOOD) @ $0.17     11/18/2021   -1     $0.17   $16.63
Sold Short 35 HOOD Nov 26 '21 $29 Call(HOOD) @ $0.18       11/24/2021   -35    $0.18   $617.34
Sold Short 1 HOOD Dec 03 '21 $29 Call(HOOD) @ $0.33        11/29/2021   -1     $0.33   $32.63
Sold Short 1 HOOD Dec 03 '21 $29 Call(HOOD) @ $0.40        11/29/2021   -1     $0.40   $39.63
Sold Short 100 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54      12/6/2021    -100   $0.54   $5,363.83
Sold Short 99 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33       12/6/2021    -99    $0.33   $3,231.20
Sold Short 100 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.58      12/6/2021    -93    $0.58   $5,360.36
Sold Short 84 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.55       12/6/2021    -84    $0.55   $4,589.61
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Sold Short 54 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33      12/6/2021    -54    $0.33   $1,762.47
Sold Short 48 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54      12/6/2021    -48    $0.54   $2,574.63
Sold Short 46 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.32      12/6/2021    -46    $0.32   $1,455.37
Sold Short 38 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33      12/6/2021    -38    $0.33   $1,240.25
Sold Short 25 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33      12/6/2021    -25    $0.33   $815.95
Sold Short 24 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54      12/6/2021    -24    $0.54   $1,287.31
Sold Short 15 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33      12/6/2021    -15    $0.33   $489.57
Sold Short 11 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.32      12/6/2021    -11    $0.32   $348.02
Sold Short 11 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.32      12/6/2021    -11    $0.32   $348.02
Sold Short 10 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.55      12/6/2021    -10    $0.55   $546.38
Sold Short 10 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33      12/6/2021    -10    $0.33   $326.38
Sold Short 7 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54       12/6/2021    -7     $0.54   $375.46
Sold Short 7 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54       12/6/2021    -7     $0.54   $375.46
Sold Short 7 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54       12/6/2021    -7     $0.54   $375.46
Sold Short 6 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33       12/6/2021    -6     $0.33   $195.82
Sold Short 5 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54       12/6/2021    -5     $0.54   $268.18
Sold Short 5 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.55       12/6/2021    -5     $0.55   $273.18
Sold Short 2 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.54       12/6/2021    -2     $0.54   $107.27
Sold Short 1 HOOD Dec 10 '21 $23 Call(HOOD) @ $0.56       12/6/2021    -1     $0.56   $55.63
Sold Short 1 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33       12/6/2021    -1     $0.33   $32.63
Sold Short 1 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.33       12/6/2021    -1     $0.33   $32.63
Sold Short 88 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35      12/8/2021    -88    $0.35   $3,048.17
Sold Short 26 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35      12/8/2021    -26    $0.35   $900.60
Sold Short 12 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35      12/8/2021    -12    $0.35   $415.66
Sold Short 12 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35      12/8/2021    -12    $0.35   $415.66
Sold Short 6 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35       12/8/2021    -6     $0.35   $207.82
Sold Short 6 HOOD Dec 10 '21 $24 Call(HOOD) @ $0.35       12/8/2021    -6     $0.35   $207.82
Sold Short 100 HOOD Dec 17 '21 $19 Call(HOOD) @ $0.40     12/15/2021   -100   $0.40   $3,963.83
Sold Short 53 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -53    $0.11   $563.83
Sold Short 100 HOOD Dec 17 '21 $20 Call(HOOD) @ $0.35     12/15/2021   -50    $0.35   $1,731.92
Sold Short 43 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -43    $0.11   $457.45
Sold Short 40 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -40    $0.11   $425.53
Sold Short 37 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -37    $0.11   $393.62
Sold Short 31 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -31    $0.11   $329.79
Sold Short 31 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11      12/15/2021   -31    $0.11   $329.79
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Sold Short 30 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11        12/15/2021   -30      $0.11          $319.15
Sold Short 22 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11        12/15/2021   -22      $0.11          $234.04
Sold Short 14 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11        12/15/2021   -14      $0.11          $148.93
Sold Short 10 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11        12/15/2021   -10      $0.11          $106.38
Sold Short 9 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -9       $0.11          $95.74
Sold Short 9 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -9       $0.11          $95.74
Sold Short 9 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -9       $0.11          $95.74
Sold Short 8 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -8       $0.11          $85.09
Sold Short 3 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -3       $0.11          $31.90
Sold Short 1 HOOD Dec 17 '21 $22 Call(HOOD) @ $0.11         12/15/2021   -1       $0.11          $10.63
Class Period Sales                                                       -8,505                  $258,932.41

Class Period sales that exceed Class Period purchases                                     Total: -$386,778.20
have been matched to pre-Class Period Holdings
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SECTION 11 LOSS ANALYSIS
Class Period: 07/29/2021 to 12/17/2021
ROBINHOOD MARKETS INC - A
Ticker                                                          CUSIP                    SEDOL     ISIN               Lookback Price
HOOD                                                            770700102                BP0TQN6   US7707001027       $19.10         *
Dr. Amee Sodha
LIFO
Transaction Type                                                Trade Date               Shares    Price Per Share    Cost / Proceeds
Purchase                                                        8/2/2021                 1,000     $37.52             -$37,517.60
Purchase                                                        8/2/2021                 90        $37.55             -$3,379.86
Purchase                                                        8/3/2021                 1,994     $38.00             -$75,772.00
Purchase                                                        8/3/2021                 1,930     $38.00             -$73,340.00
Purchase                                                        8/3/2021                 102       $38.00             -$3,876.00
Purchase                                                        8/4/2021                 138       $38.00             -$5,244.00
Purchase                                                        8/5/2021                 146       $38.00             -$5,548.00
Purchase                                                        8/12/2021                100       $38.00             -$3,800.00
Purchase                                                        8/23/2021                100       $38.00             -$3,800.00
Purchase                                                        8/31/2021                100       $38.00             -$3,800.00
Purchase                                                        9/23/2021                80        $38.00             -$3,040.00
Purchase                                                        10/7/2021                20        $38.00             -$760.00
Purchase                                                        10/25/2021               100       $38.00             -$3,800.00
Purchase                                                        11/8/2021                1,100     $36.84             -$40,524.00
Purchase                                                        11/8/2021                800       $36.81             -$29,447.92
Purchase                                                        11/8/2021                100       $36.79             -$3,679.00
Purchase                                                        11/16/2021               100       $33.92             -$3,392.00
Class Period purchases:                                                                  8,000                        -$300,720.38
Sale                                                            9/23/2021                200       $46.39             $9,277.00
Sale                                                            9/23/2021                100       $46.47             $4,647.00
Sale **                                                         11/8/2021                2,100     $36.00             $75,600.00
Class Period sales (matched to Class Period purchases):                                  2,400                        $89,524.00

                                                                LIFO Retained Purchases: 5,600     $19.10             $106,960.00

* Value of retained shares is the closing price on 12/17/2021                                      LIFO Gain/(Loss): -$104,236.38
** Pursuant to the options contract
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LOSS ANALYSIS
Class Period: 07/29/2021 to 12/17/2021

ROBINHOOD MARKETS INC - A
Ticker                                                         CUSIP        SEDOL     ISIN
HOOD                                                           770700102    BP0TQN6   US7707001027
Dr. Amee Sodha
OPTIONS
Transaction Description                                        Trade Date   Shares    Price Per Share   Cost / Proceeds
Bought To Cover 17 HOOD Aug 13 '21 $76 Call (HOOD) @ $0.10     8/11/2021    17        $0.10             ($170.00)
Bought To Cover 2 HOOD Aug 13 '21 $76 Call (HOOD) @ $0.10      8/11/2021    2         $0.10             ($20.00)
Bought To Cover 27 HOOD Aug 13 '21 $76 Call (HOOD) @ $0.10     8/11/2021    27        $0.10             ($270.00)
Bought To Cover 6 HOOD Aug 13 '21 $76 Call (HOOD) @ $0.10      8/11/2021    6         $0.10             ($60.00)
Bought To Cover 2 HOOD Aug 20 '21 $59 Call (HOOD) @ $0.84      8/18/2021    2         $0.84             ($168.00)
Bought To Cover 8 HOOD Aug 20 '21 $59 Call (HOOD) @ $0.84      8/18/2021    8         $0.84             ($672.00)
Bought To Cover 1 HOOD Aug 20 '21 $51 Call (HOOD) @ $0.05      8/20/2021    1         $0.05             ($5.00)
Bought To Cover 14 HOOD Aug 20 '21 $51 Call (HOOD) @ $0.05     8/20/2021    14        $0.05             ($70.00)
Bought To Cover 40 HOOD Aug 20 '21 $51 Call (HOOD) @ $0.04     8/20/2021    40        $0.04             ($160.00)
Bought To Cover 56 HOOD Sep 03 '21 $46 Call(HOOD)@ $0.73       9/1/2021     56        $0.73             ($4,088.00)
Bought To Cover 57 HOOD Sep 17 '21 $42 Call (HOOD) @ $0.58     9/17/2021    57        $0.58             ($3,306.00)
Bought To Cover 49 HOOD Sep 24 '21 $44 Call (HOOD) @ $2.75     9/23/2021    49        $2.75             ($13,475.00)
Bought To Cover 8 HOOD Sep 24 '21 $44 Call (HOOD) @ $2.61      9/23/2021    8         $2.61             ($2,088.00)
Bought To Cover 55 HOOD Oct 15 '21$43.50 Call (HOOD) @ $0.14   10/13/2021   55        $0.14             ($770.00)
Bought To Cover 25 HOOD Oct 29 '21 $45 Call (HOOD) @ $0.65     10/26/2021   25        $0.65             ($1,625.00)
Bought To Cover 2 HOOD Nov 05 '21 $36 Call (HOOD) @ $0.80      11/5/2021    2         $0.80             ($160.00)
Bought To Cover 29 HOOD Nov 05 '21 $36 Call (HOOD) @ $0.80     11/5/2021    29        $0.80             ($2,320.00)
Bought To Cover 4 HOOD Nov 05 '21 $36 Call(HOOD)@$0.80         11/5/2021    4         $0.80             ($320.00)
Bought To Cover 55 HOOD Nov 12 '21 $40 Call (HOOD) @ $0.04     11/11/2021   55        $0.04             ($220.00)
Bought To Cover 1 HOOD Dec 17 '21 $20 Call (HOOD) @$0.43       12/16/2021   1         $0.43             ($43.00)
Bought To Cover 1 HOOD Dec 17 '21 $20 Call (HOOD) @ $0.44      12/16/2021   1         $0.44             ($44.00)
Bought To Cover 18 HOOD Dec 17 21 $20 Call (HOOD) @ $0.44      12/16/2021   18        $0.44             ($792.00)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call (HOOD) @ $0.44      12/16/2021   2         $0.44             ($88.00)
Bought To Cover 2 HOOD Dec 17 '21 $20 Call (HOOD) @$0.44       12/16/2021   2         $0.44             ($88.00)
Bought To Cover 32 HOOD Dec 17 '21 $20 Call (HOOD) @$0.44      12/16/2021   32        $0.44             ($1,408.00)
Bought To Cover 17 HOOD Dec 17 '21 $19 Call (HOOD) @ $0.26     12/17/2021   17        $0.26             ($442.00)
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Bought To Cover 2 HOOD Dec 17 '21 $19 Call (HOOD) @ $0.26   12/17/2021     2         $0.26           ($52.00)
Bought To Cover 30 HOOD Dec 17 '21 $19 Call (HOOD) @$0.25   12/17/2021     30        $0.25           ($750.00)
Bought To Cover 7 HOOD Dec 17 '21 $19 Call (HOOD) @ $0.25   12/17/2021     7         $0.25           ($175.00)
Class Period purchases:                                                    569                       ($33,849.00)
Sold Short 54 HOOD Aug 13 '21 $54 Call (HOOD) @ $0.60       8/11/2021      -52       $0.60           $3,240.00
Sold Short 55 HOOD Aug 20 '21 $51 Call (HOOD) @$0.15        8/19/2021      -10       $0.15           $825.00
Sold Short 56 HOOD Aug 27 '21 $52 Call (HOOD) @ $0.45       8/23/2021      -55       $0.45           $2,520.00
Sold Short 57 HOOD Sep 03 '21 $48 Call (HOOD) @ $0.27       9/1/2021       -56       $0.27           $1,539.00
Sold Short 57 HOOD Sep 24 '21 $44 Call (HOOD)@ $0.20        9/21/2021      -57       $0.20           $1,140.00
Sold Short 3 HOOD Sep 24 '21 $48 Call (HOOD) @ $0.62        9/23/2021      -3        $0.62           $186.00
Sold Short 50 HOOD Sep 24 '21 $48 Call (HOOD) @$0.62        9/23/2021      -50       $0.62           $3,100.00
Sold Short 54 HOOD Oct 01 '21 $47 Call (HOOD) @ $0.32       9/29/2021      -4        $0.32           $1,728.00
Sold Short 5 HOOD Oct 15 '21 $42 Call (HOOD) @ $0.23        10/13/2021     -5        $0.23           $115.00
Sold Short 50 HOOD Oct 15 '21 $42 Call (HOOD) @ $0.24       10/13/2021     -50       $0.24           $1,200.00
Sold Short 1 HOOD Oct 29 '21 $45 Call (HOOD) @ $0.55        10/26/2021     -1        $0.55           $55.00
Sold Short 24 HOOD Oct 29 '21 $45 Call (HOOD) @ $0.55       10/26/2021     -24       $0.55           $1,320.00
Sold Short 1 HOOD Nov 12 '21 $40 Call (HOOD) @$0.30         11/8/2021      -1        $0.30           $30.00
Sold Short 54 HOOD Nov 12 '21 $40 Call (HOOD) @ $0.30       11/8/2021      -34       $0.30           $1,620.00
Sold Short 56 HOOD Nov 19 '21 $31.50 Call (HOOD) @ $0.31    11/18/2021     -55       $0.31           $1,736.00
Sold Short 10 HOOD Dec 17 '21 $19 Call(HOOD)@$0.21          12/16/2021     -10       $0.21           $210.00
Sold Short 12 HOOD Dec 17 '21 $19 Call (HOOD) @ $0.21       12/16/2021     -12       $0.21           $252.00
Sold Short 2 HOOD Dec 17 '21 $19 Call (HOOD) @$0.21         12/16/2021     -2        $0.21           $42.00
Sold Short 32 HOOD Doc 17 '21 $19 Call (HOOD) @ $0.21       12/16/2021     -32       $0.21           $672.00
Class Period Sales                                                         -513                      $21,530.00
                                                                                              Total: -$12,319.00
Class Period sales that exceed Class Period purchases
have been matched to pre-Class Period Holdings
